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                     Exhibit B
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From:               Coopersmith, Jeffrey
Sent:               Wednesday, March 15, 2023 7:36 PM
To:                 anthony_granados@canpt.uscourts.gov; brad_wilson@canpt.uscourts.gov
Cc:                 Sunny Balwani
Subject:            Ramesh "Sunny" Balwani/BOP Reporting
Attachments:        Motion for Release Pending Appeal - Balwani 3-15-23.pdf; 2023.03.15 DE 008.19 ECF.pdf


Dear Messrs. Granados and Wilson:

I am writing on behalf of my client, Sunny Balwani, to let you know that this afternoon we filed a motion for
release pending appeal in the Ninth Circuit Court of Appeals. The motion is attached along with the electronic
filing confirmation. Under the Ninth Circuit rules, the filing of this motion automatically keeps his current bail in
effect until the Ninth Circuit rules on the motion. The rule is Ninth Circuit Rule 9-1.2(e), which provides that, “[i]f
the appellant is on bail at the time the motion is filed in this Court, that bail will remain in effect until the Court
rules on the motion.” The Ninth Circuit has held that “[t]he operation of the rule” is “automatic.” United States
v. Fuentes, 946 F.2d 621, 622 (9th Cir. 1991); accord United States v. Kakkar, No. 5:13-cr-00736-EJD, 2017
WL 4163291, at *1 (N.D. Cal. Sept. 20, 2017).

Mr. Balwani filed his appellate motion for release pending appeal this afternoon, March 15, 2023. Because
Mr. Balwani was on bail at the time his appellate motion was filed, that bail therefore automatically continues
until a ruling on that motion. As a result, Mr. Balwani is not required to report to the BOP tomorrow.

Please contact me if you have any questions. Thank you.

Best regards,


                     Jeffrey B. Coopersmith
                     Partner

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                     District of Columbia




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